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 8                        UNITED STATES DISTRICT COURT
 9                       EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,              )
                                            )     2:05-cr-00122-GEB-GGH-2
11                    Plaintiff,            )
                                            )     ORDER
12             v.                           )
                                            )
13   EBONY PIPKINS,                         )
                                            )
14                                          )
                      Defendant.            )
15                                          )
16             This action was mistakenly designated as an action under
17   28 U.S.C. § 2255 (Docket #82) and thereafter referred to a
18   magistrate judge.    Subsequently, the magistrate judge issued a
19   briefing schedule (Docket #85), which is vacated and the reference
20   to the magistrate judge is withdrawn since this action is not a
21   § 2255 case.   Therefore, the government’s motion to continue the
22   briefing schedule filed on March 13, 2008, is denied as moot.
23             The government’s request for continuance to file an
24   opposition to Defendant’s motion for a reduction of her sentence
25   (Docket #86) is granted. The government shall file its opposition
26   on or before April 25, 2008.      Petitioner shall file a reply on or
27   before May 25, 2008.
28             A copy of this order shall be served on Assistant Federal
              Case 2:05-cr-00122-DC Document 88 Filed 03/19/08 Page 2 of 2


 1   Defender David Porter, since the government states in its filing on
 2   March 13, 2008, that the Federal Defender is seeking to determine
 3   if the Petitioner desires to be represented by appointed counsel.
 4               IT IS SO ORDERED.
 5   Dated:    March 18, 2008
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 7                                     GARLAND E. BURRELL, JR.
                                       United States District Judge
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